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 1   JOSEPH J. WISEMAN, ESQ., CSBN 107403
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 3     Telephone: 530.759.0700
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 4
     Attorney for Defendant
 5   KIM CHI LAM
 6

 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                         SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                          )   Case No. Cr. S-03-0202 GEB
12                                                      )
                                 Plaintiff,             )   APPLICATION FOR ORDER
13                                                      )   EXONERATING BAIL [PROPOSED
             vs.                                        )   ORDER]
14                                                      )
     KIM CHI LAM,                                       )
15                                                      )
                                 Defendant.             )
16                                                      )
                                                        )
17

18
              Defendant, KIM CHI LAM, by and through undersigned counsel, applies for an order
19
     from this court exonerating the bail posted to secure her release in this case. Defendant is making
20

21   this application on the ground that her bail was never formally exonerated at the conclusion of

22   the case. Accordingly, the lien in favor of the Clerk of Court on the real property posted to secure
23
     defendant’s release has not been extinguished and remains a cloud on title. Defendant is
24
     /////
25

26   /////
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28
     ____________________________________________________________________________________________________
     Application for Order Exonerating Bail                1                        Case No. CR S 03-0202 GEB
     [Proposed Order]
       Case 2:03-cr-00202-TLN Document 330 Filed 01/05/06 Page 2 of 2


 1   currently in custody serving her 30-month prison sentence imposed by the court.
 2
     Dated: December 22, 2005                        Respectfully submitted,
 3
                                                     JOSEPH J. WISEMAN, P.C.
 4

 5
                                                     By: __/s/Joseph J. Wiseman________________
 6                                                          JOSEPH J. WISEMAN
                                                            Attorney for Defendant
 7
                                                            KIM CHI LAM
 8

 9                                                  ORDER
10
             GOOD CAUSE having been shown, IT IS HEREBY ORDERED THAT the bail posted
11
     in this case to secure the defendant’s release is EXONERATED.
12
     DATED: January 5, 2006
13
                                                             /s/ Garland E. Burrell, Jr.
14

15
                                                      GARLAND E. BURRELL, JR.
16
                                                      United States District Judge
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     ____________________________________________________________________________________________________
     Application for Order Exonerating Bail                2                        Case No. CR S 03-0202 GEB
     [Proposed Order]
